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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                         CRIMINAL FILE NO.
        v.                               1:05-CR-197-7-TWT
 RUFINO DUARTE-ROSALES also
 known as Fino,
   Defendant.


                                   ORDER


      This is a criminal action.   It is before the Court on the Report and

Recommendation [Doc. 276] recommending denying the Defendant’s Motions to

Suppress [Docs. 79 & 81].     The Court approves and adopts the Report and

Recommendation as the judgment of the Court. The Defendant’s Motions to Suppress

[Docs. 79 & 81] are DENIED.

      SO ORDERED, this 20 day of August, 2007.


                              /s/Thomas W. Thrash
                              THOMAS W. THRASH, JR.
                              United States District Judge
